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                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION
                                                                                                EOD
                                                                                                09/09/2021
IN RE:                                           §
                                                 §
RONALD WAYNE PETTIT                              §               Case No. 20-41570
                                                 §
                                                 §
                        Debtor                   §               Chapter 7

MARK A. WEISBART                                 §
CHAPTER 7 TRUSTEE                                §
                                                 §
                        Plaintiff                §
                                                 §
v.                                               §               Adversary No. 21-04011
                                                 §
RONALD WAYNE PETTIT, JR.                         §
                                                 §
                        Defendant                §

      MEMORANDUM OF DECISION AND ORDER GRANTING IN PART AND
       DENYING IN PART DEFENDANT’S AMENDED MOTION TO DISMISS

         Before the Court for consideration is the “Amended Motion to Dismiss” (the

“Amended Motion”) filed by the Defendant Ronald Wayne Pettit, Jr. (the “Defendant” or

“Debtor”) on March 22, 2021, which alleges that dismissal of the complaint in this

adversary proceeding is warranted.1 Plaintiff and Chapter 7 Trustee, Mark A. Weisbart

(the “Plaintiff” or “Trustee”) alleges in his “Amended Complaint Objecting to Discharge”

(the “Amended Complaint”) that the Defendant gave false oaths pursuant to 11 U.S.C. §


         1
         The Defendant does not cite any particular provision of Fed. R. Civ. P. 12(b) as authority for
the Amended Motion. It appears to the Court that the Defendant’s Amended Motion is most reasonably
understood as one filed either under Fed. R. Civ. P. 12(b)(6), made applicable to this proceeding by Fed.
R. Bankr. P. 7012.
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727(a)(4). On April 4, 2021, Trustee filed an objection in opposition to the Amended

Motion. Upon due consideration of the pleadings and the relevant legal authorities, the

Court agrees with the substance of the Defendant’s Amended Motion. For the reasons

stated in this Memorandum of Decision and Order, the Defendant’s Amended Motion

should be GRANTED in part and DENIED in part.

                                              I. Jurisdiction

        The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334(a) and

157(a). The Court has the authority to enter a final judgment in this adversary proceeding

because it constitutes a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(1).

                             II. Factual and Procedural Background2

        The Defendant initiated the main bankruptcy case (the “Main Case”) associated

with this adversary proceeding by filing his voluntary petition for Chapter 7 relief under

Title 11 of the United States Code (the “Bankruptcy Code”) on July 13, 2020.3 Mark A.

Weisbart was appointed as Chapter 7 Trustee and held a § 341 meeting of creditors on

August 18, 2021.4 The notice of meeting of creditors set an initial deadline of October




        2
          Much of the background described herein is derived from the docket in the Main Case. With
regard to consideration of the Amended Motion, the Plaintiffs’ factual allegations will be accepted as
pled and will be viewed in the light most favorable to the Plaintiff (the non-moving party to the
Defendants’ Motion).
        3
            See In re Pettit, No. 20-41570 (Bankr. E.D. Tex. Mar. 17, 2021).
        4
            Dkt. #3 in the Main Case.

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19, 2020 for filing objections to discharge.5 Trustee filed two motions to extend this

deadline.6 These were granted by the Court7 presiding in the Main Case.8 The second of

these extension orders set the deadline for objecting to discharge under 11 U.S.C. §

727(a) as December 30, 2020.9

        On December 29, 2020, Trustee filed a “Third Motion to Extend Time to File

Complaint Objecting to Discharge” (the “Third Motion”) in the Main Case.10 Defendant

filed an objection to this Third Motion on January 17, 2021, and the Court scheduled a

hearing for February 16, 2021.11 The hearing on the Third Motion was continued and

ultimately conducted on March 2, 2021 in the Main Case. On March 3, 2021, the Court

in the Main Case denied the Third Motion.12 The effect of denial of the Third Motion

was that the deadline for filing an objection to Debtor’s discharge was December 30,

2020. Prior to the hearing on the Third Motion but after December 30, 2020, on January



        5
            Id.
        6
            Dkt. ## 24 and 31 in the Main Case.
        7
          The Hon. Brenda T. Rhoades has presided and continues to preside over the Main Case. This
adversary proceeding is presided over by the Hon. Joshua P. Searcy. It is this Court which now renders a
decision on the Amended Motion
        8
            Dkt. ## 28 and 37 in the Main Case.
        9
            Id.
        10
             Dkt. #39 in the Main Case.
        11
             Dkt. ## 44 and 45 in the Main Case.
        12
             Dkt. #62 in the Main Case.

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28, 2021, Trustee filed his “Complaint Objecting to Discharge” (the “Original

Complaint”) initiating this adversary proceeding. He filed the Amended Complaint on

January 29, 2021.

       Debtor-Defendant filed his Amended Motion and “Defendant’s Amended

Answer” (the “Amended Answer”) on March 22, 2021, arguing that the adversary

proceeding should be dismissed because it was “filed beyond its bar date.”13 Trustee filed

his “Objection to Amended Motion to Dismiss” (the “Objection”), contending that the

Amended Motion was “improperly filed and procedurally defective.”14

                                        III. Relief Requested

       Defendant seeks an order granting dismissal of the Amended Complaint.

                                            IV. Analysis

       While neither party directly states issues based upon the Federal Rules of

Bankruptcy Procedure in either the Amended Motion or Objection, several rules are

essential to the Court’s decision. Fed. R. Bankr. P. 4004(a), (b), (c), and 9006(b) are

particularly relevant. The Court will first review the applicable rules and subsections

before examining them in the context of the Amended Motion.

A. Federal Rules of Bankruptcy Procedure 4004 and 9006(b)

       In a Chapter 7 case, Fed. Bankr. R. P. 4004(a) dictates that any objection to



       13
            Defendant’s Motion to Dismiss, ¶ 3, ECF No. 8.
       14
            Trustee’s Objection to Amended Motion to Dismiss, ECF No. 12.

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discharge filed pursuant to 11 U.S.C. § 727(a) must be filed no later than 60 days after the

first date set for the § 341(a) meeting of creditors. Generally, the time limit is strictly

applied, but the Court may grant a motion extending the deadline before it expires. Fed.

R. Bankr. P. 4004(b). The “underlying purpose” of the rule “is to provide the debtor with

a definite date after which no party may object to discharge.” In re Gallagher, 70 B.R.

288, 290 (Bankr. S.D. Tex. 1987) (citing United States v. Ortman (In re Ortman), 51 B.R.

7, 8 (Bankr. S.D. Indiana 1984)). A court may grant an extension motion under Fed. R.

Bankr. P. 4004(a) “only to the extent and under the conditions stated” in that rule.15 Fed.

R. Bankr. P. 9006(b)(3). The objecting creditor must demonstrate “cause” for an

extension. Fed. R. Bankr. P. 4004(b)(1). The meaning of “cause” is not defined by Fed.

R. Bankr. P. 4004, and is therefore subject to a court’s discretion.16 Fed. R. Bankr. P.

4004 is the functional equivalent of a statute of limitations because it bars a creditor’s

untimely objection to discharge. DeAngelis v. Rychalsky (In re Rychalsky), 318 B.R. 61,

63 (Bankr. D. Del. 2004). The United States Supreme Court has outlined three purposes

for the discharge rules, including Fed. R. Bankr. P. 4004: “First they inform the pleader,

i.e. the objecting creditor, of the time he has to file the complaint. Second they instruct


        15
           Fed. R. Bankr. P. 9006(b) mirrors and applies the same procedures as Fed. R. Civ. P. 6(b) for a
party seeking an extension. Although the motion should be filed prior to the expiry date, a court not need
to rule on the extension motion prior to the expiration of the time period.
        16
          While courts have discretion, an extension under Fed. R. Bankr. P. 4004 cannot be granted for
excusable neglect. Rule 9006(b)(3) excepts Fed. R. Bankr. P. 4004 from the “excusable neglect
standard,” because it is not allowed under the “extent” and “conditions” stated in Fed. R. Bankr. P. 4004.
Neeley v. Murchison, 815 F.2d 345, 346 (5th Cir. 1987).

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the court on the limits of its discretion to grant motions for complaint-filing-time

enlargements. Third, they afford the debtor an affirmative defense to a complaint filed

outside the Rules 4004(a) and (b) limits.” Case v. Watson (In re Watson), No. 04-46189,

2007 WL 4480130, at *2 (Bankr. S.D. Tex. Dec. 17, 2007) (quoting Kontrick v. Ryan,

540 U.S. 443, 456 (2004)). The Fifth Circuit has held that Fed. R. Bankr. P. 4004 should

be “strictly construed” because the procedural rules “reflect[] the overall goal of the

bankruptcy process to provide individual debtors a fresh start.” Yaquinto v. Ward (Matter

of Ward), 978 F.3d 298, 302 (5th Cir. 2020) (quoting Ichinose v. Homer Nat’l Bank (In re

Ichinose), 946 F.2d 1169, 1172 (5th Cir. 1991)).

       Judge Rhoades granted two Rule 4004 extension motions in the Main Case,

allowing the Trustee additional time to object to the Defendant’s discharge.17 The Third

Motion seeking a further extension was denied.18 Because the Third Motion was denied,

the deadline for filing an objection to Debtor’s discharge remained December 30, 2020.

When the Trustee filed the Original Complaint approximately one month later on January

28, 2021, it was late as alleged by Defendant. Motions to dismiss, however, are

disfavored in the Fifth Circuit and deserve further scrutiny. See Great Plains Trust Co. v.

Morgan Stanley Dean Witter & Co., 313 F.3d 305, 329 (5th Cir. 2002).




       17
            Dkt. ## 31 and 37 in the Main Case.
       18
            Dkt. #62 in the Main Case.

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B. Dismissal Motion and Consideration on the Merits

       Fifth Circuit precedent favors avoiding a dismissal with prejudice unless: “(1) the

delay has been caused by the plaintiff himself, not by his attorney; (2) there is actual

prejudice to the defendant; and (3) the delay has been caused by intentional conduct.”

Kuenstler v. Half Price Books, Inc., 589 B.R. 138, 146 (E.D. Tex. 2018) (citing Millan v.

USAA Gen. Indem. Co., 546 F.3d 321, 326 (5th Cir. 2008)).

       First, the docket in the Main Case evinces that delay in filing an objection to

discharge was the result of Trustee’s own extension motions. Neither the Trustee’s

Objection nor his Original or Amended Complaint allege that late-filing of the Original

Complaint was delayed by the Defendant’s actions.

       Second, there is not only prejudice to Defendant in further delaying his “fresh

start,” but Defendant would be further prejudiced by undermining the Fifth Circuit’s strict

construction of Fed. R. Bankr. P. 4004. The Court in the Main Case has already twice

extended the objection deadline, and Defendant agreed to one of Trustee’s extensions by

not objecting to the request.19 By denying the Amended Motion outright, the Court would

not only be allowing Plaintiff to file an untimely objection to discharge after the original

Fed. R. Bankr. P. 4004(a) deadline, but after two subsequent extensions of that deadline.

“The purpose of the bankruptcy laws is [to] quickly and effectively [] settle bankruptcy

estates.” Oppenheim v. Bullock (Matter of Robintech, Inc.), 863 F.2d 393, 397-98 (5th


       19
            Debtor’s Limited Objection, ¶ 2, ECF No. 25.

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Cir. 1989) (citing Katchen v. Landy, 382 U.S. 323, 328 (1966)). If the Court were to

allow both multiple extensions and a late-filed objection to discharge, the Defendant

would surely be prejudiced. Allowing such prejudice would contradict both the plain

language of the relevant procedural rules and Fifth Circuit precedent interpreting those

rules. Fed. R. Bankr. P. 4004(a); see e.g. Matter of Robintech, 863 F.2d at 397-98.

        Finally, the delay was caused by Trustee's intentional conduct. The Trustee’s two

extension motions indicate he was aware of the deadline for filing a complaint objecting

to discharge. Trustee controlled when he filed the Original Complaint, but chose to do so

one month after the December 30, 2020 deadline, despite the risk of failure in obtaining a

third extension.20 Trustee is a “frequent player” in the bankruptcy process with

professional knowledge of filing deadlines and the consequences of missing such

deadlines. See Matter of Robintech, 863 F.2d at 398.21

        In opposition, Trustee contends that the Amended Motion was “improperly filed

and procedurally defective.”22 He did not provide any substantive basis for this assertion,



        20
             See Plaintiff’s Complaint Objecting to Discharge, ECF No. 1.
        21
           In Matter of Robintech, the Fifth Circuit recognized the importance of procedures as
“necessary to protect the bankrupt and the creditors,” and that “exceptions cannot be made every time a
creditor claims hardship.” Matter of Robintech, 863 F.2d at 398 (citing In re Cleary, 18 B.R. 114, 115
(Bankr. W.D. Pa. 1982)). “Frequent players in the bankruptcy arena... are aware that deadlines are
important and should not be heard to complain of unfairness except under the most egregious
circumstances. To allow the late-filed claims of creditors...would be unfair to all of the creditors who
filed on time, despite possible hardships...” Matter of Robintech, 863 F.2d at 398 (citing In re Clear
Fork Energy Resources Inc., 44 B.R. 110, 113 (Bankr. N.D. Tex. 1984)).
        22
             Trustee’s Objection to the Amended Motion, ECF No. 12.

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and there were no filing or procedural issues with the Amended Motion readily apparent

to the Court.23 Defendant, who is pro se, cannot be expected to plead with the same

clarity as a practicing attorney.24 Accordingly, the Court agrees with the Amended

Motion and finds little merit in the Objection. Thus, the Trustee is barred from objecting

to the Defendant’s discharge. As previously stated, however, Fifth Circuit precedent

dictates that courts should avoid dismissal without deciding a case on the merits. Great

Plains Trust Co. v. Morgan Stanley Dean Witter & Co., 313 F.3d 305, 329 (5th Cir. 2002)

(describing the “pull to decide case on the merits” and allowing a plaintiff to “cure

pleading deficiencies before dismissing a case, unless it is clear that the defects are

incurable.”). Therefore, this adversary proceeding is not immediately dismissed.

C. The “Gap Period”

        While the Trustee is barred from filing an objection to discharge under 11 U.S.C. §

727(a), the “Bankruptcy Code may provide other remedies to the Trustee.” Case v.

Watson, No. 04-46189, 2007 WL 4480130, at *5 (Bankr. S.D. Tex. Dec. 17, 2007). The

Trustee may “bring a claim for the revocation of a debtor’s discharge if a debtor obtained


        23
             Id.
        24
            Courts give great deference to pro se litigants in recognition of the fact that they are not
lawyers and are not familiar with the intricacies of legal work. For example, the Supreme Court has
instructed that documents filed by pro se litigants are “to be liberally construed.” Estelle v. Gamble, 429
U.S. 97, 106 (1976). The Supreme Court has also directed that filings by pro se litigants should be
subject “to less stringent standards than formal pleadings by lawyers.” Haines v. Kerner, 404 U.S. 519,
520 (1972). However, this deference is not limitless. Pro se litigants are not excused from following the
Federal Rules of Civil Procedure and must still make some effort to comply with the rules that govern
other litigants. Roque v. Yniguez (In re Roque), No. EC-13-1048-KiPaJu, 2014 WL 351424, at *7
(B.A.P. 9th Cir. Jan. 31, 2014); Conway v. Heyl (In re Heyl), 609 B.R. 194, 202 (B.A.P. 8th Cir. 2019).

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his discharge through fraud or if the debtor received property of the estate and either did

not disclose or deliver the property to the Trustee.” 11 U.S.C. § 727(d)(1), (2). The

Trustee alleges the Defendant violated 11 U.S.C. § 727(a)(4) “by giving a false oath.”25

The Fifth Circuit has acknowledged bankruptcy courts as “courts of equity,” and “a court

of equity is enabled to frustrate fraud and work complete justice.” Watson, 2007 WL

4480130, at *6 (quoting Nikoloutsos v. Nikoloutsos (In re Nikoloutsos), 199 F.3d 233, 236

(5th Cir. 2000); Tex. Co. v. Miller, 165 F.2d 111, 116 (5th Cir. 1946)). Although the

Trustee is barred from objecting to discharge because of his late-filed complaint, the

Court will not immediately bar the Trustee from seeking another remedy when there is an

allegation as serious as making false oaths. See Nazar v. Schowengerdt (In re

Schowengerdt), No. 02-15715, 2004 WL 2334727, *2-3 (Bankr. D. Kansas Feb. 19,

2004) (deciding not to dismiss complaint even though trustee late-filed because “serious”

allegations like the failure to turn over financial information to the trustee warranted

“consideration on the merits.”); see also Watson, 2007 WL 4480130, at *6. Like in

Watson, a discharge has not yet been entered in the Main Case, and so the Plaintiff “has

not asserted a cause of action to revoke a discharge.” Id. The court’s solution in Watson

was to allow the trustee “to replead under 727(d) rather than dismiss the current

proceeding” by amending his complaint. Watson, 2007 WL 4480130, at *6; see also

Schowengerdt, 2004 WL 2334727, at *3 (holding though trustee’s complaint sought to

       25
            Amended Complaint Objecting to Discharge, 4 ¶ 14, ECF No. 4-1.

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revoke discharge before it had been entered, the revocation cause of action was not

dismissed).

        One of the requirements for a trustee to prevail on a 11 U.S.C. § 727(d)(1) cause of

action is that he “did not know of the debtor’s fraud until after the discharge was

granted.” Watson, 2007 WL 4480130, at *6 (quoting United States v. Harrison, 366 B.R.

656, 660 (S.D. Tex. 2007). This interplay between the requirement under 11 U.S.C. §

727(d)(1) for revocation and the deadline to object to discharge under Fed. R. Bankr. P.

4004(a) creates a “gap period” in which a debtor who committed fraud could ostensibly

receive a discharge. Such a gap exists between expiration of the deadline to object to

discharge and actual entry of a discharge order. This “gap period” has not yet been

considered by the Fifth Circuit or the United States Supreme Court. Id. Several other

courts, however, have confronted the “gap period.”26 See Citibank v. Emery (In re


        26
           See Walton v. Staub (In re Staub), 208 B.R. 602 (Bankr. S.D. Ga. 1997) (holding that an
“administrative delay in the issuance of a discharge does not create a safe haven gap period” where
debtors can obtain a discharge “through fraud”). In Nazar v. Schowengerdt, the court agreed with the
Second and Ninth Circuits that debtors should not benefit when a discharge has not yet been entered.
Nazar v. Schowengerdt (In re Schowengerdt), No. 02-15715, 2004 WL 2334727, at *2-3 (Bankr. D.
Kansas Feb. 19, 2004). The court also chose not to dismiss the adversary proceeding, rather instructing
the clerk to issue the discharge and the “Trustee to again seek revocation.” Id. The court noted that
dismissal would “confuse the creditor body” because they would “receive and rely upon notice of
discharge” but might not “receive notice of the Trustee’s action to revoke it.” Id.; contra Powell v. First
National Bank of Nashville, Ark., 113 B.R. 512, 513 (W.D. Ark. 1990) (holding that it was not the court’s
job to “rationalize” a gap created between a statute and a rule as the Ninth Circuit did in Dietz, but that it
was the job of Congress); but see Morse v. Perotta (In re Perotta), 406 B.R. 1, 17 (Bankr. D. N.H. 2009).
The court in Perotta compared the strict approach by the court in Powell to the equitable approach in
Emery. Perotta, 406 B.R. at 11-13. The Perotta court found that the procedural rules at issue, including
Fed. R. Bankr. P. 4004(b), altered the “fresh start” policy, and that “providing an allegedly dishonest
debtor with an opportunity to obtain a discharge in bankruptcy and get a fresh start, contrary to
basic...bankruptcy policy as expressed in the Bankruptcy Code...would be an abuse of the bankruptcy

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Emery), 132 F.3d 892, 894 (2nd Cir. 1998); see also Dietz v. Mitchell (In re Dietz), 914

F.2d 161, 162 (9th Cir. 1990).

        In Emery, a creditor filed a complaint to revoke a debtor’s discharge in a Chapter 7

case based on alleged fraud. Emery, 132 F.3d at 893. The debtor then moved to dismiss

for failure to state a claim. The Second Circuit held that: (1) the creditor could seek

revocation of discharge based on its discovery of debtor’s alleged fraud during the “gap

period” between the bar date for objecting to discharge and the discharge date, and (2) the

statute of limitations for revocation action began to run as of the actual discharge date.

Id. at 897; contra Zedan v. Habash, 529 F.3d 398, 405 (7th Cir. 2008) (finding that

because creditor filed complaint to “revoke the discharge before it had ever been

entered,” court dismissed the complaint because it failed to state a claim under Fed. R.

Civ. P. 12(b)(6) and Fed. R. Bankr. P. 7012). The court in Emery found it unlikely that

“Congress intentionally drafted a statute to punish fraudulent conduct by debtors that at

the same time provides a period of immunity for such debtors.” Id. at 896. The Second

Circuit cited Dietz, a decision in which the Ninth Circuit affirmed the bankruptcy court’s

decision to consider a revocation request when the complaint was brought prior to a




process.” Id. at 16. The court cited its power under 11 U.S.C. § 105(a) “to prevent an abuse of process,”
denied the dismissal motion, and directed the U.S. Trustee to amend her complaint within fifteen (15)
days “to assert her existing objections to discharge under the provisions of 727(a).” Id. at 17.

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formal entry of discharge, but after the deadline to seek a revocation.27 Dietz, 914 F.2d at

162.

        The Court finds the reasoning in Watson, Emery, and Dietz persuasive. The

Trustee contends that Defendant “falsely testified and/or his Schedule or Statement of

Financial Affairs fail[ed] to disclose” various assets.28 While the Trustee may have held

suspicions of Debtor’s alleged false oaths prior to the deadline to object to discharge, it is

unclear whether the Trustee’s alleged knowledge arose prior to or after the deadline.

While bound by the Fed. R. Bankr. P. 4004(a) deadline, this Court agrees it is unlikely

that “Congress intentionally drafted a statute to punish fraudulent conduct by debtors that

at the same time provides a period of immunity for such debtors.” Id. at 896. As noted in

Watson, 11 U.S.C. § 727 and Fed. R. Bankr. P. 4004 “are clear” in that the Court is to

“forthwith grant the debtor a discharge at the expiration of 60 days after the first date set”

for the 11 U.S.C. § 341 meeting. Watson, 2007 WL, at *7. Discharge orders, however,

are “rarely entered precisely upon the expiration of the 60th day as set forth in Rule

4004(a).” Id. at 8. While it should be “fairly contemporaneous with the expiration of the

Rule 4004(a) deadline,” allowing such an administrative delay to provide a “gap period”

in which a debtor can commit or confess fraud and “avoid [the] adverse consequences of

        27
          The Ninth Circuit Bankruptcy Appellate Panel also addressed the “gap period” the year prior.
England v. Siriani (In re Stevens), 107 B.R. 702 (B.A.P. 9th Cir. 1989) (finding that when a discharge is
not entered “forthwith” after the expiration of Rule 4004(a) period and until discharge is actually entered,
while untimely, a party can file to revoke discharge under 11 U.S.C. § 727(d)).
        28
             Amended Complaint Objecting to Discharge, 4 ¶ 14, ECF No. 4-1.

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his actions” undermines the underlying purpose of the Bankruptcy Code. Therefore, the

Trustee will be permitted to replead revocation of discharge under 11 U.S.C. § 727(d).

See Watson, 2007 WL 4480130, at *6 (holding that a complaint may be filed prior to the

entry of discharge) (citing Marrama v. Citizens Bank of Massachusetts (In re Marrama),

549 U.S. 365, 375 (2007) (approving bankruptcy court’s use of equitable powers to deny

a conversion to avoid administrative process which would end up in the same place)).

                                       V. Conclusion

       IT IS THEREFORE ORDERED that the “Amended Motion to Dismiss” filed in

this adversary proceeding on March 23, 2021 by the Defendant, Ronald Waynee Pettit Jr.,

is hereby GRANTED so as to dismiss the Trustee’s Amended Complaint objecting to

discharge pursuant to 11 U.S.C § 727(a)(4), but is DENIED as to dismissal of the

adversary proceeding in order to allow the Trustee, Mark A. Weisbart, the opportunity to

file an amendment seeking revocation of discharge pursuant to 11 U.S.C. § 727(d).

       IT IS FURTHER ORDERED that the Chapter 7 Trustee, Mark A. Weisbart,

shall have until twenty-one (21) days after entry of this order to file an amended

complaint in a manner consistent with this decision. If the Trustee either fails to file a

timely amendment, or to plead a cause of action for revocation of discharge, this

adversary proceeding will be dismissed.
                                             Signed on 09/09/2021




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                                             THE HONORABLE JOSHUA P. SEARCY
                                             UNITED STATES BANKRUPTCY JUDGE
